                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE

NIKKI BOLLINGER GRAE, Individually )
and on Behalf of All Others Similarly )
Situated,                             )
                                      )
Plaintiff,                            )          Case No. 3:16-cv-02267
                                      )
v.                                    )          Judge Aleta A. Trauger
                                      )
CORRECTIONS CORPORATION OF            )
AMERICA, DAMON T. HININGER,           )
DAVID M. GARFINKLE, TODD J.           )
MULLENGER, and HARLEY G. LAPPIN )
                                      )
Defendants.                           )


                          MOTION TO ADMIT ANNA E. BERCES AND
                          MORGAN E. WHITWORTH PRO HAC VICE

       Pursuant to Local Rule 83.01(d), Defendants Correction Corporation of America, Damon

T. Hininger, David M. Garfinkle, Todd J. Mullenger, and Harley G. Lappin hereby move the

Court for an Order allowing Anna E. Berces and Morgan E. Whitworth of the firm Latham &

Watkins, LLP, 505 Montgomery Street, Suite 2000, San Francisco, California 94111, (415) 391-

0600, anna.berces@lw.com, morgan.whitworth@lw.com to appear and practice in this action.

As evidenced by the Certificates of Good Standing submitted herewith, Ms. Berces and Mr.

Whitworth are members in good standing of the United States District Court for the Northern

District of California.




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                          CERTIFICATE OF SERVICE

       I hereby certify that service of the foregoing document was made upon the following
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this 23rd day of May, 2017.

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